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     Federal Defender
 2   REED GRANTHAM, CA Bar #294171
     Assistant Federal Defender
 3   Office of the Federal Defender
     2300 Tulare Street, Suite 330
 4   Fresno, CA 93721-2226
     Telephone: (559) 487-5561
 5   Fax: (559) 487-5950
 6   Attorneys for Defendant
     RAFAEL SANCHEZ, JR.
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                     Case No. 1:18-cr-00073-NONE-SKO-1
12                     Plaintiff,                   STIPULATION TO CONTINUE
                                                    SENTENCING; ORDER
13    vs.
                                                    Date: January 29, 2021
14    RAFAEL SANCHEZ, JR.,                          Time: 8:30 a.m.
                                                    Judge: Hon. Dale A. Drozd
15                    Defendant.
16
17
18          IT IS HEREBY STIPULATED, by and between the parties, through their respective
19   counsel, Assistant United States Attorney Thomas Newman, counsel for plaintiff, and Assistant
20   Federal Defender Reed Grantham, counsel for defendant Rafael Sanchez, Jr., that the sentencing
21   hearing currently scheduled for October 22, 2020, at 9:30 a.m. may be continued to January 29,
22   2021, at 8:30 a.m.
23           Defense counsel is in the process of gathering records relevant for sentencing purposes
24   and is requesting this continuance to provide additional time to obtain such records. The
25   requested continuance is made with the intention of conserving time and resources for both the
26   parties and the Court. The government is in agreement with this request and the requested date is
27   a mutually agreeable date for both parties. As this is a sentencing hearing, no exclusion of time is
28   necessary.
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 1                                                Respectfully submitted,
 2                                                McGREGOR W. SCOTT
                                                  United States Attorney
 3
 4   Date: October 15, 2020                       /s/ Thomas Newman
                                                  THOMAS NEWMAN
 5                                                Assistant United States Attorney
                                                  Attorney for Plaintiff
 6
 7                                                HEATHER E. WILLIAMS
                                                  Federal Defender
 8
 9   Date: October 15, 2020                       /s/ Reed Grantham
                                                  REED GRANTHAM
10                                                Assistant Federal Defender
                                                  Attorney for Defendant
11                                                RAFAEL SANCHEZ, JR.
12
13
14                                              ORDER
15            IT IS HEREBY ORDERED that the sentencing hearing set for Thursday, October 22,
16   2020, at 9:30 a.m. be continued to Friday, January 29, 2021, at 8:30 a.m.
17
     IT IS SO ORDERED.
18
19
         Dated:       October 15, 2020
                                                         UNITED STATES DISTRICT JUDGE
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     Sanchez, Jr. – Stipulation
     and Proposed Order
                                                     2
